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 1 BRIAN B. BOYNTON
   Principal Deputy Assistant Attorney General
 2 ARUN G. RAO
   Deputy Assistant Attorney General
 3 AMANDA N. LISKAMM
   Director
 4 ROGER J. GURAL
   Senior Trial Attorney
 5 U.S. Department of Justice
   Consumer Protection Branch
 6 450 Fifth Street, N.W., Suite 6400S
   Washington, D.C. 20001
 7 Tel: 202-307-0174
   Email: roger.gural@usdoj.gov
 8
   PHILLIP A. TALBERT
 9 United States Attorney
   EMILIA P. E. MORRIS
10 Assistant United States Attorney
   Robert E. Coyle United States Courthouse
11 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
12 Tel: (559) 497-4084
   Email: Emilia.Morris@usdoj.gov
13
   Attorneys for Plaintiff
14 United States of America

15                         IN THE UNITED STATES DISTRICT COURT

16                      FOR THE EASTERN DISTRICT OF CALIFORNIA

17

18 UNITED STATES OF AMERICA                      ) Case No.: 1:08-CV-01786-JLT-SAB
                                                 )
19                           Plaintiff,          ) PLAINTIFF UNITED STATES OF
                                                 ) AMERICA’S NOTICE OF MOTION AND
20         vs.                                   ) MOTION TO ENFORCE DECREE
                                                 )
21 ORGANIC PASTURES DAIRY COMPANY,               )
   LLC, a corporation, and MARK McAFEE, an       ) HEARING DATE: May 24, 2024
22 individual,                                   ) TIME: 9:00 AM
                                                 ) PLACE: Courtroom 6, Fresno
23                                               ) JUDGE: Hon. Jennifer L. Thurston
                            Defendants.          )
24                                               )
                                                 )
25                                               )
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     PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION TO ENFORCE DECREE
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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE THAT on May 24th, at 9:00 a.m., or as soon thereafter as the
 3   matter may be heard, pursuant to the Court’s April 20, 2010 Order in this Action (ECF No. 48)
 4   (“April 2010 Order”), and the parties’ Consent Decree of Permanent Injunction in this Action,
 5   which the Court entered as an order on July 26, 2023 (ECF No. 67) (“Consent Decree”): Plaintiff
 6   the United States of America hereby moves this Court to enforce the Consent Decree. A
 7   Memorandum of Points and Authorities in Support of this Motion is attached herewith.
 8          On April 20, 2010, this Court entered an order permanently enjoining RAW FARM, LLC
 9   f/k/a Organic Pastures Dairy Company, LLC (“Raw Farm”) and Mark McAfee (collectively,
10   “Defendants”), as well as all associated persons from, inter alia, distributing in interstate
11   commerce (1) unapproved new drugs, (2) misbranded food, and (3) raw milk and raw milk
12   products for human consumption except where alternative procedures to pasteurization are
13   permitted by regulation. See April 2010 Order, ECF No. 48, at 23-24; 21 C.F.R. § 1240.61
14   (promulgated pursuant to 42 U.S.C. § 264(a)). On March 27, 2023, the United States filed a
15   Petition alleging clear and convincing evidence of Raw Farm’s contempt of the April 2010 Order
16   (ECF No. 50-1). On May 19, 2023, the Court granted the United States’ Petition, finding that
17   Defendants and Raw Farm’s President, Aaron McAfee, “[u]ndisputedly” violated the April 2010
18   Order (ECF No. 62). On July 26, 2023, the Parties filed a stipulation and proposed order jointly
19   agreeing and stipulating to entry of a Consent Decree of Permanent Injunction as a final settlement
20   of the dispute raised in the Petition, pursuant to Court approval. ECF No. 66. On July 26, 2023,
21   the Court entered the proposed order and Consent Decree. ECF No. 67.
22          As further detailed in the United States’ concurrently filed Memorandum in Support, in the
23   short time frame since the entry of the Consent Decree, there have been two multistate outbreaks
24   of foodborne illnesses linked to Raw Farm’s raw milk and raw milk cheddar cheese, where at least
25   162 people have become ill. Following the first outbreak—an October 2023 multistate outbreak of
26   Salmonella Typhimurium linked to Raw Farm’s raw milk—the U.S. Food and Drug
27   Administration (“FDA”) inspected Raw Farm’s facilities. In February 2024, the Centers for
28   Disease Control and Prevention and FDA jointly began an investigation into a second outbreak – a

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     PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION TO ENFORCE DECREE
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 1   separate multistate outbreak of E. coli O157:H7 that was linked to Raw Farm’s raw milk cheddar

 2   cheese. On March 1, 2024, based on a determination that Raw Farm was distributing adulterated

 3   cheese in interstate commerce in violation of the Federal Food, Drug, and Cosmetic Act

 4   (“FDCA”), FDA issued Defendants and Aaron McAfee a Letter Order, pursuant to Paragraph 7 of

 5   the Consent Decree, directing them to take a number of narrowly-tailored and science-based

 6   corrective actions. The corrective actions included, among other things, measures to ensure that

 7   any adulterated cheese in interstate commerce is recalled and destroyed and that Defendants and

 8   Aaron McAfee cease distributing adulterated cheese in interstate commerce, including an order to

 9   conduct and submit the results of their internal audit demonstrating that they have not distributed
10   any adulterated cheese in interstate commerce. Yet, despite multiple requests, Raw Farm has not
11   provided adequate responses nor committed to comply with the agency’s orders.
12          As shown in the United States’ concurrently filed Memorandum in Support, clear and
13   convincing evidence exists of Raw Farm’s noncompliance with the FDCA, as well as Paragraphs 7
14   and 8 of the Consent Decree. Paragraph 7 of the Consent Decree provides that “[i]f, at any time
15   after this Decree has been entered, FDA determines, based on the results of an inspection, . . . or
16   any other information, that Defendants have . . . violated the FDCA, . . . FDA may, as and when it
17   deems necessary, notify Defendants in writing of their noncompliance and order them to take
18   appropriate corrective actions, including, but not limited to . . . [c]ease receiving, manufacturing,
19   preparing, processing, packing, labeling, holding, and/or distributing any or all food or drugs”
20   (¶ 7(A)), “[r]ecall, at the expense of Defendants . . . any [ ] FDA-regulated product otherwise in
21   violation of . . . the FDCA” (¶ 7(B)), “[s]ubmit [ ] reports or information to FDA as requested”
22   (¶ 7(D)), and “[t]ake any other corrective actions as FDA, in its discretion, deems necessary to
23   protect the public health or bring Defendants into compliance with . . . the FDCA” (¶ 7(F)).
24   Paragraph 8 of the Consent Decree provides that Defendants “shall immediately and fully comply
25   with the terms of [FDA’s] order[s].”
26          This motion is filed pursuant to the Court’s express retention of jurisdiction (i) over the
27   Defendants’ compliance with the terms of the April 2010 Order and the Consent Decree and (ii) to
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     PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION TO ENFORCE DECREE
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 1       grant such additional relief as may be necessary or appropriate. 1 Paragraph 2(N) of the April 2010

 2       Order provides that “[t]his Court retains jurisdiction” over the action and the parties to this case “to

 3       issue such further decrees and orders as may be necessary to enforce or modify this Order and for

 4       granting such other relief as may be necessary and appropriate for the proper disposition of this

 5       case.” ECF No. 48 at 29. Similarly, Paragraph 15 of the Consent Decree states that “[t]his Court

 6       retains jurisdiction over this action and Defendants for the purpose of enforcing and modifying this

 7       Decree and for the purpose of granting such additional relief as may be necessary or appropriate.”

 8       ECF No. 67, Ex. A at 7.

 9              Based upon Defendants’ violations of the FDCA and the Consent Decree described in the
10       United States’ Memorandum in Support, Plaintiff asks this Court to enforce the terms of the
11       Consent Decree and enter the Proposed Order submitted with this motion as relief.
12 Date: April 19, 2024                                           Respectfully submitted,
13 BRIAN B. BOYNTON                                               PHILLIP A. TALBERT
   Principal Deputy Assistant Attorney General                    United States Attorney
14
   Civil Division
                                                                  /s/ Emilia P. E. Morris
15 ARUN G. RAO                                                    EMILIA P. E. MORRIS
   Deputy Assistant Attorney General                              Assistant United States Attorney
16                                                                U.S. Attorney’s Office
   AMANDA N. LISKAMM                                              Eastern District of California
17 Director                                                       Counsel for the United States of America
18 Consumer Protection Branch
    /s/ Roger Gural_____________
19 Roger Gural

20 Senior Trial Attorney
   Consumer Protection Branch
21 Civil Division
   U.S. Department of Justice
22 450 Fifth Street, N.W., Suite 6400S
   Washington, D.C. 20001
23 Tel: 202-307-0174
   Email: roger.gural@usdoj.gov
24 Counsel for the United States of America

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     1
26   Paragraph 2 of the Consent Decree states that “[t]he April 2010 Order remains in full force and
   effect with respect to Defendants and their directors, officers, agents, representatives, employees,
27 attorneys, successors, assigns, and any and all persons in active concert or participation with them
   (collectively, ‘Associated Persons’).” ECF No. 67, Ex. A at 1. Paragraph 3 of the Consent Decree
28 states that “Defendants and their Associated Persons shall comply with all of the provisions of this
   Decree.” Id., Ex. A at 2.
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         PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION TO ENFORCE DECREE
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 1 OF COUNSEL:

 2 MARK RAZA
   Chief Counsel
 3 U.S. Food and Drug Administration

 4 SHANNON SINGLETON
   Deputy Chief Counsel, Litigation
 5 U.S. Food and Drug Administration

 6 ELIZABETH TETER-GOSSMANN
   Associate Chief Counsel for Enforcement
 7 U.S. Department of Health and Human Services
   Office of the Chief Counsel
 8 U.S. Food and Drug Administration
   10903 New Hampshire Avenue
 9 Silver Spring, MD 20993
10

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 1                            CERTIFICATE OF SERVICE BY U.S. MAIL

 2          The undersigned hereby certifies that she is an employee of the Office of the United States

 3 Attorney for the Eastern District of California and is a person of such age and discretion to be

 4 competent to serve papers:

 5          That on April 19, 2024, she served a copy of:

 6    PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION

 7       TO ENFORCE THE DECREE; and [PROPOSED] ORDER ON UNITED STATES’

 8                        MOTION TO ENFORCE THE CONSENT DECREE

 9 by placing said copy in a postpaid envelope addressed to the person(s) hereinafter named, at the
10 place(s) and address(es) stated below, which is/are the last known address(es), and by depositing

11 said envelope and its contents in the United States Mail at Fresno, California;

12
     Addressee(s):
13
   Mark R. Figueiredo
14 Structure Law Group, LLP
   1754 Technology Drive, Suite 135
15 San Jose, CA 95110
   (408) 441-7500
16

17

18                                                         /s/ Marcela Vasquez
                                                           Marcela Vasquez
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      PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION TO ENFORCE DECREE
